







		NO. 12-08-00280-CR


NO. 12-08-00281-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




§
	

IN RE: LEROY CAMPBELL,

RELATOR§
	ORIGINAL PROCEEDING


§
	






MEMORANDUM OPINION


PER CURIAM


	Leroy Campbell seeks an "emergency writ of mandamus" complaining that Rissie Owens,
Chairperson of the Texas Department of Criminal Justice--Parole Division, has failed to grant him
proper jail time credit.  We deny the petitions.

	This court's power to issue writs is defined by Section 22.221 of the Texas Government
Code.  Section 22.221 grants courts of appeals the authority to issue (1) writs of mandamus and other
writs necessary to enforce their jurisdiction; (2) writs of mandamus against a judge of a district or
county court in the court of appeals district; and (3) writs of habeas corpus under specifically defined
circumstances involving contempt orders in civil cases.  See Tex. Gov't Code Ann. § 22.221
(Vernon 2004).  We are not authorized to issue writs of mandamus against the Texas Department
of Criminal Justice or its officials, and Campbell has not claimed or shown that the relief requested
is necessary to enforce the jurisdiction of our court.  Accordingly, Campbell's petitions for writ of
mandamus are dismissed for want of jurisdiction.

Opinion delivered June 25, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



(DO NOT PUBLISH)


